      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 1 of 43




                          United States District Court
                          Northern District of Georgia
                              Gainesville Division


 Fair Fight, Inc., Scott Berson, Jocelyn
 Heredia, and Jane Doe,

                                   Plaintiffs,

       v.
                                                 Civ. No. 2:20-cv-00302-SCJ
 True the Vote, Inc., Catherine
 Engelbrecht, Derek Somerville, Mark             Hon: Steve C. Jones
 Davis, Mark Williams, Ron Johnson,
 James Cooper, and John Does 1-10,

                                 Defendants.


              Defendants’ Statement of Undisputed Material Facts

        True the Vote, Inc. /Catherine Engelbrecht Statement of Facts

Georgia Voter Challenge

      1. True the Vote, Inc. (“TTV”) compiled a challenge list encompassing all

159 counties in Georgia (“Challenge List”) and intended to submit challenges on

behalf of challengers in all of them. In order to do so, TTV needed eligible voters

to volunteer to serve as challengers in each of these counties. TTV’s Responses to

Defs.’ Stmt.
Undisputed Facts                          1
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 2 of 43




Plaintiffs’ Second Interrogatories (June 7, 2021) (“TTV Resp. to 2d Interrog.”),

Resp. No. 14, Ex. A.

      2. On the day that TTV’s press release announcing this was issued, Attorney

Mark Elias sent letters to the Boards of Elections in several Georgia counties. TTV

1455-57 (Letter from Marc Elias to Kristi L. Royston (Dec. 18, 2020)), Ex. B.

      3. Several people serving as challengers started receiving intimidating and

harassing messages via email and social media. TTV Resp. to 2d Interrog. Resp.

No. 14.

      4. As the Run-off election neared and the intimidation and harassment of

challengers increased, TTV did not receive authorization to submit the challenge

list from a registered voter in every Georgia county. Id.

      5. Therefore, TTV did not submit challenges in all of Georgia’s 159

counties as originally planned, but only submitted challenges in the counties noted

in TTV’s Amended Responses to Plaintiffs’ First Requests for Production (Mar.

24, 2021) (“TTV Am. Resp. First RFP”), Resp. No. 2, Ex. C. The counties in

which TTV submitted Challenges is as follows:




Defs.’ Stmt.
Undisputed Facts                          2
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 3 of 43




  Appling                    Habersham                   White
  Bacon                      Hall                        Wilcox
  Baldwin                    Hancock                     Wilkes
  Banks                      Hart
  Barrow                     Henry
  Ben Hill                   Houston
  Bibb                       Jackson
  Bleckley                   Jasper
  Brooks                     Jefferson
  Butts                      Johnson
  Calhoun                    Jones
  Charlton                   Lamar
  Cherokee                   Lee
  Clarke                     Madison
  Clayton                    McDuffie
  Cobb                       McIntosh
  Coffee                     Oconee
  Columbia                   Oglethorpe
  Coweta                     Rockdale
  Crawford                   Sumter
  Crisp                      Taliaferro
  Dawson                     Tattnall
  DeKalb                     Terrell
  Dodge                      Thomas
  Dooly                      Tift
  Dougherty                  Toombs
  Douglas                    Towns
  Fayette                    Union
  Franklin                   Walton
  Fulton                     Webster
  Gwinnett                   Wheeler



Defs.’ Stmt.
Undisputed Facts                    3
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 4 of 43




Id. (reordered alphabetically).

         6. TTV prepared analysis for all 159 counties but challenges were ultimately

submitted in 65 counties because those were the counties for which individual

electors committed to filing the challenges. Transcript Excerpts of Deposition of

Catherine Engelbrecht, TTV 30(b)(6) (Jan. 26, 2022) (“TTV Tr.”), Ex. D, 255:4-

256:13.

         7. Based on its understanding of the governing statute and the process it

outlined, and a meeting with the Georgia Secretary of State, TTV expected the

challenge process to be orderly and organized and not burdensome to a challenged

individual. TTV Tr. 152:15-154:19;169:22-170:18.

         8. TTV had communications with individual challengers to discuss the

process to have been followed and the threats that were being experienced, and

TTV directed them where to submit information on the threats. TTV Tr. 159:21-

161:2.

         9. TTV had a meeting with the Secretary of State in mid-December to

describe the Challenge and help understand the process in the counties to avoid

friction or inappropriate process. TTV Tr. 168:5-22.


Defs.’ Stmt.
Undisputed Facts                           4
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 5 of 43




      10. In that meeting, the Secretary of State commented that because the voter

registration list had not been cleaned and considering the normal rate of moves

that the number of names on the Challenge List was “about right.” TTV Tr. 169:1-

12; 171:1-5.

      11. The impetus behind the Challenges was in part that electors had

contacted TTV about challenges in Georgia, and the challenge statute afforded an

opportunity for citizens to engage in that way. TTV Tr. 223:17-224:6.

      12. The purpose of the Challenges was to help electors bring to the attention

of the counties those records that showed voters that appeared not to comply with

eligibility standards for the runoff election. TTV Tr. 206:1-4.

      13. The intent of TTV and the purpose of the Challenges was not to have

people removed from voter registration rolls in Georgia, but for the county boards

to confirm with the Challenged Voters whether they had moved. TTV Tr. 342:15-

343:1; TTV Resp. to First Interrogs, Ex. E, Resp. No. 5.

      14. Neither TTV nor any of the individual volunteers had any contact with

the Challenged Voters. TTV Resp. to First Interrogs. Resp. No. 5.

Other Activities


Defs.’ Stmt.
Undisputed Facts                          5
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 6 of 43




      15. TTV never considered releasing the Challenge List to the public. TTV

Tr. 257:11-14.

      16. TTV was also involved in litigation in several states regarding possibly

illegal ballots cast in the 2020 general election (“Validate the Vote”). The

Validate the Vote name was created by a consultant of a donor in early November

2020. TTV Tr. 66:12-21, 67:16-20.

      17. The name Validate the Vote was used with respect to these national

litigation efforts in connection with the 2020 general election and sometimes

included the name of the state in which the litigation efforts were directed. TTV

Tr. 69:4-7.

      18. The counting of illegal ballots in Democratic counties in several states

was the subject of publicity regarding Validate the Vote, not the challenges in

Georgia. TTV Tr. 267:6-268:2, 268:17-22, 276:3-5, 276:19-277:2, 277:3-5.

Work with OpSec

      19. TTV hired OpSec Group LLC (“OpSec”) to analyze publicly available

data to create a list of registered Georgia voters to be challenged under O.G.C.A.

§ 21-2-230 as having changed their residency. Transcript Excerpts of Deposition


Defs.’ Stmt.
Undisputed Facts                         6
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 7 of 43




of Gregg Phillips (Jan. 25, 2022) (“OpSec Tr.”), Ex. F 54:21; 57:11-21.

      20. TTV contracted with OpSec to prepare analysis for all Georgia counties,

and the challenges were limited by the residency of electors willing to mount a

challenge in their county. TTV Tr. 231:11-19.

      21. TTV received or viewed data from the TrueAppend on December 19,

2020; the data was not used in creating the Challenge Lists, TTV Tr. 244:17-

245:10, 248:13-22, and the demographic information, which is automatically

included, was reviewed as a result of claims that the List exhibited bias. TTV Tr.

185:1-5.

Fraud Hotline

      22. Consistently over a number of election cycles, TTV hosts a hotline that

is available online and uses a toll free number. TTV Tr. 81:16-21.

      23. Reports of impropriety or malfeasance or reports of missing ballots or

extra ballots were reviewed and either forwarded to the appropriate authorities or

further vetted. TTV Tr. 85:21-86:9.

      24. The election integrity hotline had live operators taking calls starting in

late September of 2020. TTV Tr. 82:18-21.


Defs.’ Stmt.
Undisputed Facts                          7
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 8 of 43




      25. During the 2020 election cycle TTV’s national election integrity hotline

came to be associated with Validate the Vote. TTV Tr. 68:16-69:7; 81:22-82:4.

      26. TTV referred easily answered questions or concerns to the official

websites of the relevant government entities. TTV Tr. 85:13-20.

      27. The purpose of the election integrity hotline was to gather information

regarding potential violations that had already occurred and though TTV did

report some incidents to authorities no reports received relevant to Georgia at the

time of the runoff resulted in the need to follow up or report contact information to

appropriate authorities. TTV Tr. 93:17-95:3; TTV’s Amended Responses to

Plaintiffs’ Second Requests for Production (Jun. 18, 2021) (“TTV Am. Resp. 2d

RFP”), Ex. G, Resp. No. 18.

      28. During the runoff period, TTV made available training for signature

verification and absentee ballot training. TTV Tr. 96:5-102:6.

Support Fund

      29. In conjunction with its work on the Challenge List, TTV established a

fund to provide legal support for people who reported information primarily to

head off the chilling effect of the threat of legal action against challengers or those


Defs.’ Stmt.
Undisputed Facts                           8
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 9 of 43




with information. TTV Tr. 71:11-19, 71:22-72:1, 74:8-17, 75:5-18, 76:15-19.

      30. The fund was also used to support litigation in several states in regard to

the November 2020 presidential election. TTV Tr. 316:3-12.

      31. As a result of the initiative associated with the fund, TTV received

credible reports of criminal malfeasance that it submitted to authorities. TTV Tr.

316:19-317:5.

Withdrawn Challengers

      32. Claire Joseph Martin was the only Georgia volunteer serving as a

challenger who withdrew or attempted to withdraw a Georgia Elector Challenge in

his or her name. TTV Resp. to 2d Interrog. Resp. No. 11.

      33. Mr. Martin gave permission to submit Challenges on his behalf in

Taliaferro County. Before the Taliaferro County Challenge List was submitted on

his behalf, he submitted challenges to three of the voters on the List and who had

requested absentee ballots. TTV Resp. to 2d Interrog. Resp. No. 11.

      34. On December 20, 2020, he asked to “hold” the Challenge on his behalf

and noted that two of the three challenges were residents in long-term care and

were eligible to vote in Taliaferro County. TTV Resp. to 2d Interrog. Resp. No.


Defs.’ Stmt.
Undisputed Facts                         9
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 10 of 43




11; TTV Tr. 327:10-15.

      35. TTV submitted the withdrawal of the Challenge in Taliaferro County on

Dec. 21. TTV Resp. to 2d Interrog. Resp. No. 11.

      36. Mr. Martin later reported that Taliaferro County Chief Registrar

confirmed with him that one of the three people on his challenge list did not live in

Taliaferro County and the absentee ballot for that voter was rejected. TTV Resp. to

2d Interrog. Resp. No. 11.

      37. TTV knows of no other instance in which TTV or a challenger learned

that a voter whose name appeared on a Challenge List was in fact a resident of the

County in which they were registered to vote. TTV Resp. to 2d Interrog. Resp. No.

12.

                    OpSec/Gregg Phillips Statement of Facts

      38. OpSec was founded in 2020. OpSec Tr. 36:19.

      39. True the Vote contracted with OpSec to analyze publicly available data

to create TTV’s Challenge List. OpSec Tr. 54:21, 57:11-21.

The Challenge List

      40. OpSec prepared lists for all the counties in Georgia. OpSec Tr. 149:2-4.


Defs.’ Stmt.
Undisputed Facts                         10
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 11 of 43




TTV Tr. 231:11-13 (Analysis was prepared for all Georgia Counties); TTV Tr.

255:6 (“we had done the analysis to support [challenges in all 159 counties].”)

      41. The counties for which challenges were submitted were those counties

for which a Georgia voter lived in the jurisdiction and wished to file a challenge.

OpSec Tr. 149:9-13; TTV Tr. 253:20-254:4; 255:7-11; 256:7-13.

OpSec’s Process and the Challenge List

      42. In creating the Challenge List OpSec used the Georgia official voter

registration file, the NCOA, the Coding Accuracy Support System (“CASS”),

Delivery Point Validation (“DPV”) and proprietary algorithms (“proprietary

process”) to help verify identity. OpSec Tr. 93:16-94:2.

      43. In matching information from Georgia’s voter rolls and other data,

OpSec used fields that conformed with respect to data format and data type. OpSec

Tr. 106:22-107:3.

      44. OpSec’s proprietary process compared the addresses in the registration

file to government and commercially available information in order to identify

people who had either moved out of the county in which they were registered or

live outside the State of Georgia. OpSec Tr. 113:6-17.


Defs.’ Stmt.
Undisputed Facts                         11
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 12 of 43




         45. OpSec’s proprietary process was developed by Gregg Phillips in 2006

and through use has demonstrated its accuracy. OpSec Tr. 108:16-22.

         46. OpSec used its proprietary process in addition to regular address

matching to produce the Challenge List. OpSec Tr. 118:11-15.

         47. OpSec’s proprietary process is designed to infer, from consulting other

sources of data, the purpose for which the person has submitted an NCOA request.

OpSec Tr. 129:8-12.

         48. Among the persons that OpSec’s proprietary process is designed to

identify are persons who have deployed for military service, OpSec Tr. 128:3-7;

persons that, intending to move, file an NCOA request and then change their mind,

id. 127:12-128:2; persons that forward their mail because they were on vacation,

id. 126:22-127:5, 128:1-2; persons that moved for non-military government

service and submit an NCOA, id. 126:9-16, 128:1-2; persons submitting an

address change for purposes of attending school, id. 125:17-19, 128:1-2; persons

that have moved inside the county or jurisdiction in which they were registered, id.

125:2.

         49. OpSec’s proprietary process does not consider as dispositive whether or


Defs.’ Stmt.
Undisputed Facts                           12
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 13 of 43




not a person filed a permanent or temporary address change. OpSec Tr. 138:16-22.

      50. OpSec’s proprietary process seeks to verify the identity of an individual

before considering residency by comparing to data gathered from a combination of

lists. OpSec Tr. 96:3-11.

      51. OpSec used databases other than NCOA and the voter file list to identify

persons who had moved, OpSec Tr. 94:17, 95:3-9, including other state

registrations, id. 95:14-15; 96:12-17, and “five or six other data sources.” OpSec

Tr. 95:17-18.

      52. To the extent that it is needed for the proprietary process, OpSec’s

proprietary algorithm also uses the address information from TrueNCOA and

SmartyStreets. OpSec Tr. 112:1-9; 119:16-22.

      53. In producing the Challenge List, OpSec used, among other things,

county tax records. OpSec Tr. 97:2-4.

      54. OpSec’s proprietary process mitigates a lack of unique identifiers

between voter registration rolls and NCOA lists by resolving for identity first,

which, among other things, works to eliminate a false match between persons with

the same first and last name but a different middle initial. OpSec Tr. 120:12-20.


Defs.’ Stmt.
Undisputed Facts                         13
      Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 14 of 43




      55. OpSec’s proprietary process of verifying identity is a means of and is

used to correct potential matches of individuals in the voter file sharing a first and

last name and address. OpSec Tr. 141:11-20.

      56. OpSec’s approach of verifying identity and residency is a proprietary

process that uses a 4000-row algorithm, involving a complex series of mostly

common algorithms, such as dissimilarity and similarity indexes and fuzzy logic.

OpSec Tr. 107:13-108:4; 113:22-114:3.

      57. The fuzzy logic used in OpSec’s proprietary process is designed to

ascertain whether similar information is similar enough to assume that an identity

is accurate. If it is not, then it assigns a risk factor to it. OpSec Tr. 108:8-11.

      58. In seeking to remove false positives or false negatives, OpSec’s

proprietary processing includes a quality control algorithm that evaluates every

piece of data flagged as having a risk of being potentially inaccurate. OpSec Tr.

118:3-11.

      59. The formulas and algorithms “execute,” meaning that they pull in

information from outside sources, using that information to process and resolve

the risk assigned by the quality control algorithm. OpSec Tr. 119:16-22.


Defs.’ Stmt.
Undisputed Facts                           14
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 15 of 43




         60. OpSec’s proprietary process further processes flagged questions of

whether it’s likely to be the same person, organization or street to attempt to

resolve the question. OpSec Tr. OpSec Tr. 119:16-22. If the question cannot be

resolved, a match based on the information would have been kicked out and not

included, id. 116:12-16.

         61. OpSec’s proprietary process utilizes regression modeling including a

model management process to identify the regression technique most likely to

produce an accurate result. OpSec Tr. 118:19-119:22.

         62. Regressions are run throughout the proprietary process. OpSec Tr.

119:5-9.

         63. The names of individuals using military addresses were removed by

identifying zip codes including military bases, FPO and other military

designations, OpSec Tr. 129:16-130:1.

         64. UOCAVA ballots and postcard ballots in general are handled by

counties and counties don’t make public that information. OpSec Tr. 135:20-

136:8.

         65. OpSec reviewed the results of matching names in the voter files and the


Defs.’ Stmt.
Undisputed Facts                          15
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 16 of 43




NCOA registry to ensure that it was reasonable with respect to false positives and

false negative to within one standard deviation of the potential error that might be

expected. OpSec Tr. 140:8-141:7.

      66. The process reviewed for instances where the name does not match the

name in the voter file or the name associated with that registration number and that

name would likely have been “kicked out” as an exception, but it’s possible that

the name could be included in the Challenge List. OpSec Tr. 145:5-18.

      67. The process reviewed for instances where the registered address and the

addressed to which the registrant moved are the same and it is possible that those

names would appear on the Challenge List, especially if a different name was

associated with the two addresses. OpSec Tr. 145:19-146:7.

      68. The process cannot confirm whether an individual re-registered at the

address to which the NCOA suggested the individual moved. OpSec Tr. 146:8-14.

      69. OpSec used a TrueAppend document as a quality check on numbers by

looking at the overall number of moved provided in that report as a check to see if

there were noticeable accuracy issues with the result of its analysis; the report

includes age and other demographic information that was not relevant, and OpSec


Defs.’ Stmt.
Undisputed Facts                         16
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 17 of 43




does not believe that any changes were made to the Challenge List after reviewing

the report. OpSec Tr. 150:16-18, 151:13-16, 152:6-9; TrueAppend Doc., Ex. G

      70. Hard copies of the Challenge List were not sent to counties in addition

to electronic copies because it would have been unnecessary and the counties did

not want them to be sent. OpSec Tr. 160:9-161:10.

      71. If OpSec considered demographic and other characteristics of

individuals on the Challenge List at all, it was only after and in response to

Plaintiffs’ suit, OpSec Tr. 163:13-164:8; 149:14-17, in which it is claimed,

directly or indirectly, that the Challenges were aimed particularly at certain

demographics, Amended Complaint ¶¶ 4, 16, 30.

      72. OpSec uses DataWalk to do a type of regression analysis and data

linkage but DataWalk was not used to generate the Challenge List. OpSec Tr.

164:18 -165:5.

      73. OpSec might also use DataWalk to look at linkages between files

denoting deceased persons in order to exclude them, but does not typically cross-

check with such files. OpSec Tr. 166:1-18.

      74. Neither OpSec nor Gregg Phillips know who tweets under the account


Defs.’ Stmt.
Undisputed Facts                         17
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 18 of 43




Crusade for Freedom. OpSec Tr. 167:22-168:10.

      75. OpSec’s analysis found that there were ineligible voters on the Georgia

voter roll. OpSec Tr. 71:13.

                      Derek Somerville Statement of Facts

      76. Mr. Somerville did not help or volunteer to help with TTV’s Challenges

in any way, including methodology of analysis, compiling a list of Challenges, or

timing of any Challenges. Transcript Excerpts of First Deposition of Derek

Somerville (Oct. 6, 2021) (“First Somerville Tr.”), Ex. I, 29:5-31:17; Defendant

Derek Somerville’s Responses and Objections to Plaintiffs’ Interrogatories

Pursuant to Court Order (Dec. 17, 2021) (“Somerville Interrog. Resp. Ct.

Order”), Ex. J, Resp. No. 1,

      77. Mr. Somerville and Mr. Davis worked together, independently from

TTV, to run a separate data analysis for the Runoff election, which eventually was

used by volunteers working with Mr. Somerville and Mr. Davis to submit voter

challenges in various Georgia counties. (“Davis/Somerville Challenge List”)

First Somerville Tr. 32:20-33:4;45:3-11; Somerville Interrog. Resp. Ct. Order

Resp. No. 1.


Defs.’ Stmt.
Undisputed Facts                        18
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 19 of 43




      78. Mr. Davis took the lead in researching and identifying voters to include

on the Davis/Somerville Challenge List. Based upon his review of this research

and his discussions with Mr. Davis, Mr. Somerville understood the research and

identification process to be as follows:

      a.     Split the input voter data into 3 parts for processing so the databases

      would not exceed the dbase file size limitation of 2.14 gigabytes.

      b.     Imported the data into 3 dbase structures with processing fields

      appended (added) to the structure.

      c.     Copied the residence addresses into the “COA” (Change of address)

      fields created for CASS (Coding Accuracy Support System) and NCOA

      (National Change of Address) processing.

      d.     Ran CASS & NCOA processing & saved the processing

      certifications.

      e.     Created an empty table called “Moved” and imported the records that

      received an updated address during NCOA processing.

      f.     Set a relation on the voter registration number into the vote history

      trailer data and flagged the voters in the “Moved” table who voted in the


Defs.’ Stmt.
Undisputed Facts                           19
    Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 20 of 43




     general election.

     g.    Geocoded (assigned latitude & longitude) & digitally mapped the

     “Moved” table to assign the county of the new address.

     h.    Copied out a file of voters who cast ballots in the General Election

     with changes of address to a new state or to a new county in Georgia more

     than 30 days before the general and/or the runoff elections. This yielded a

     file of voters with a change of address to another state, as well as in state

     voters who, based on the month of their “Move Effective Dates”, appeared

     to have had residency issues when they voted in the General Election, along

     with voters who voted in the General who appeared to have similar

     residency issues heading into the Runoff Election.

     i.    Removed changes of address to PO Boxes.

     j.    Eliminated UOCAVA (Military) voters by matching against the

     absentee voter data.

     k.    Mr. Davis sent Mr. Somerville a copy of the file so that I could

     remove as many voters at military bases as possible.

     l.    Mr. Somerville sent the semi-final challenge list to Mr. Davis.


Defs.’ Stmt.
Undisputed Facts                        20
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 21 of 43




         m.     Output a “Final” challenge list removing voters with changes of

         address prior to June of 2019 as we believed they would have already been

         through the Secretary of State’s NCOA processing, subsequent verification

         inquiries, and associated list maintenance activities.

         n.     Created a report format for printed lists of challenged voters.

         o.     Output a PDF list for each county.

         p.     Output an Excel file for each county.

         q.     Did an SQL query to get a count by county. The final count was

         39,141 voters and the average number of challenged voters per county was

         246.

         r.     Mr. Davis uploaded the Davis/Somerville Challenge List to Google

         drive for Mr. Somerville to distribute to challengers.

Somerville Interrog. Resp. Ct. Order Resp. No. 2.

         79. Mr. Somerville received no assistance from TTV in helping to prepare

the Davis/Somerville Challenge List. Somerville Interrog. Resp. Ct. Order Resp.

No. 4.

         80. Mr. Somerville had no knowledge of how the TTV Challenge List was


Defs.’ Stmt.
Undisputed Facts                            21
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 22 of 43




developed, who participated in it, the methodology TTV used, or any other degree

of knowledge pertaining to the TTV Challenge List. First Somerville Tr. 40:11-18;

42:15-43:9; Somerville Interrog. Resp. Ct. Order Resp. No. 1.

      81. The Davis/Somerville Challenge List was completely unrelated to the

TTV Challenge List. First Somerville Tr. 59:1-7.

      82. Mr. Somerville’s hope was that the Davis/Somerville Challenge List

would be used by counties to determine whether “there was a flaw in the process

that was exacerbated by circumstances surrounding the election[.] And did that, in

turn, result in a number of votes that may have been ineligible? - regardless of who

cast them, regardless of where they were cast, or regardless by whom.” In other

words, whether the Georgia voter rolls had a “data integrity issue.” First

Somerville Tr. 46:15-47:15.

      83. Mr. Somerville’s intent in working with Mr. Davis on the

Davis/Somerville Challenge List was to encourage people to hold their

government accountable by participating in a meaningful way—his intent was

never to scare people away from participating in an election. Transcript Excerpts

of Second Deposition of Derek Somerville (Feb. 2, 2022) (“Second Somerville


Defs.’ Stmt.
Undisputed Facts                         22
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 23 of 43




Tr.”), Ex. K 187:5-13.

      84. At times, Mr. Somerville made public statements in general about issues

surrounding voter integrity in Georgia—but none of those statements called for

physical violence or threatened harm to any Plaintiff. See Second Somerville Tr.

75:1-84:10.

      85. Mr. Somerville testified that it “wasn’t evident” to him that voters on the

Davis/Somerville Challenge List “would ever be aware they were on the list.” But

if these voters were asked to verify their residency by a county board, they simply

had to show, through a benign process, they had not permanently moved from that

county and were still eligible to vote there. First Somerville Tr. 56:18-57:11.

      86. Mr. Somerville hoped that “if there was probable cause to believe that a

vote may have been cast in an ineligible fashion – which may very well happen

unbeknownst to the person who cast that vote – that that would be looked into by

the local boards and remedied accordingly.” “‘Remedied’ does not necessarily

mean they don’t vote, or that the voter is “purged” from the voter rolls. It simply

means ensuring they vote in the proper county.” First Somerville Tr. 48:15-21;

78:6-9; Second Somerville Tr. 189:4-191:1.


Defs.’ Stmt.
Undisputed Facts                         23
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 24 of 43




      87. Mr. Somerville did not believe that the Davis/Somerville Challenge List

would have any short term impact; the effort was “really to highlight a very real

issue with the integrity of the voter file, not necessarily to effect an outcome in any

short order.” First Somerville Tr. 54:16-55:9.

      88. The Davis/Somerville Challenge List was developed and used to

highlight the fact that “the larger the amount of mail-in ballots, the more

exaggerated the affect of a bad voter file.” First Somerville Tr. 153:1-12.

      89. In recognition that military service in another county or state did not

make a voter ineligible to cast a ballot in their home county, Mr. Somerville and

Mr. Davis “went out of [their] way to make sure that . . . [they] removed

individuals that appeared to be either serving in the military, or even remotely

located near a military base in case the dependent – or dependents were caught up

in that.” First Somerville Tr. 76:8-14; Second Somerville Tr. 20:18-21:4;26:10-21.

      90. In recognition that students away from their home address were also

likely eligible voters in their home counties, Mr. Somerville and Mr. Davis also

made efforts to exclude them from the Davis/Somerville Challenge List, including

identifying and removing students connected to addresses being on or near


Defs.’ Stmt.
Undisputed Facts                          24
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 25 of 43




campuses. Second Somerville Tr. 22:16-24:8.

      91. The Davis/Somerville Challenge List consisted of “roughly 40,000

[registered voters] across all 159 counties [they] believed need[ed] to be verified

by county election boards before the January 5, 2020, runoff.” First Somerville Tr.

86:14-18.

      92. Mr. Somerville had “tremendous confidence” that the voters on the

Davis/Somerville Challenge List “filed a change of address for one reason or

another, and that there was and continues to be cause for each county election

board to confirm that those individuals are still eligible voters within their

county.” First Somerville Tr. 87:21-88:4.

      93. Mr. Somerville, primarily through social media, asked if voters would

be willing to submit voter challenges in their county, using the appropriate

Davis/Somerville Challenge List. If a voter expressed interest, Mr. Somerville

made that county’s list available to that Challenger, via email or Dropbox. The

Challenger then was responsible for submitting the Challenge based upon the

Davis/Somerville Challenge List to the appropriate county. First Somerville Tr.

89:22-15; 97:22-99:19; Somerville Interrog. Resp. Ct. Order Resp. No. 1.


Defs.’ Stmt.
Undisputed Facts                          25
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 26 of 43




      94. The Davis/Somerville Challenge List was never released to the public.

Second Somerville Tr. 71:16-72:19; 72:21-73:14.

      95. Mr. Somerville had no contact with any Challenged Voter regarding the

Challenges. Defendant Derek Somerville’s Amended Responses and Objections to

Plaintiffs’ Second Interrogatories (Oct. 28, 2021) (“Somerville Am. Resp. 2d

Interrog.”), Ex. L, Resp. No. 7.

      96. To Mr. Somerville’s knowledge, no county board of election accepted

any Challenge submitted on the basis of the Davis/Somerville Challenge List. First

Somerville Tr. 93:11-15.

      97. Mr. Somerville’s understanding of TTV’s press release in December of

2020, was that TTV was trying to generally acknowledge the “work of Georgians”

who were attempting to contribute to the effort of voter integrity, which is why his

and Mr. Davis’ names were included. Second Somerville Tr. 132:8-14.

      98. Mr. Somerville had fairly minimal contact with TTV, and none of his

contact resulted in substantive cooperation or coordination between the

Davis/Somerville Challenge List and the TTV Challenge List efforts. First

Somerville Tr. 103:6-13; 157:7-15; Somerville Interrog. Resp. Ct. Order Resp.


Defs.’ Stmt.
Undisputed Facts                         26
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 27 of 43




Nos. 1,4.

      99. Mr. Somerville understood that the Davis/Somerville Challenge List

would not prevent any eligible voter from voting, it would simply start a process

undertaken by proper county authorities, which was designed to protect voters by

identifying “those votes that are not eligible and would otherwise disenfranchise

the very voters that [they were] trying to protect.” First Somerville Tr. 124:1-12;

127:9-15.

      100. Mr. Somerville did not discuss with TTV, nor did he have any

knowledge of, TTV’s 24/7 hotline or the “whistleblower fund” described in TTV’s

November 6, 2020, press release. First Somerville Tr. 150:15-152:4.

      101. After the Davis/Somerville Challenge List was compiled, Mr.

Somerville ran several analyses on the data, including a breakdown of the file

based on voter behavior. Mr. Somerville’s intent on this post facto review was to

ensure that the data did not contain any particular bias regarding any other factor

other than the data reflecting an address change the voter had submitted to the

USPS. Second Somerville Tr. 30:6-32:14.

      102. Mr. Somerville never considered race, sex, voting preference, or any


Defs.’ Stmt.
Undisputed Facts                         27
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 28 of 43




other demographic characteristic of the voters when working to compile the

Davis/Somerville Challenge List. Second Somerville Tr. 30:6-32:14; 188:4-22.

                           Mark Davis Statement of Facts

         103. Mark Davis is the president of Data Productions, which does marketing

for commercial, nonprofit, and political organizations. Transcript Excerpts of First

Deposition of Mark Davis (Oct. 4, 2021) (“First Davis Tr.”), Ex. M 17:6-9.

         104. Mr. Davis has been admitted to testify as an expert witness in data

analytics five times over the last 20 years in disputed elections, including in

matters involving residency issues and redistricting errors. First Davis Tr. 19:6-13.

         105. As part of his work with Data Productions, Mr. Davis processed

between 50-60 million records in 2021, using a variety of data tools, including the

USPS NCOA (National Change of Address) and CASS certification (Coding

Accuracy Support System). First Davis Tr. 21:14-21.

         106. Mr. Davis has matched the NCOA data with voter registration files for

over 20 years, including during the 2020 election cycle. First Davis Tr. 27:4-

28:21.

         107. Mr. Davis noticed “residency issues with the Georgia Voter Database


Defs.’ Stmt.
Undisputed Facts                           28
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 29 of 43




for many, many years.” First Davis Tr. 32:11-33:17.

      108. Because of Mr. Davis’ observations of residency issues with the

Georgia Voter Database, he ran NCOA processing in November of 2020 to

“ascertain the extent of the issues statewide.” First Davis Tr. 33:18-20.

      109. Mr. Davis did not act in concert with, or cooperate with TTV, TTV’s

data analysis, or its voter challenge efforts for the January 2021 Runoff. First

Davis Tr. 38:22-39:14; 41:10-42:16; 46:12-47:10; Transcript Excerpts of

Deposition of Mark Davis (Jan. 19, 2022) (“Second Davis Tr.”), Ex. N 95:4-9;

Defendant Mark Davis’ Responses and Objections to Plaintiffs’ Interrogatories

Pursuant to Court Order (Dec. 14, 2021) (“Davis Interrog. Resp. Ct. Order”),

Ex. O, Resp. No. 1.

      110. Mr. Davis supports efforts “to clean up voter rolls and ensure people

don’t vote with residency issues because they’re casting ballots for people who

don’t represent them” and diluting the votes of eligible voters. First Davis Tr.

58:22-59:9; Second Davis Tr. 175:4-14.

      111. When the residency of a voter is called into question via a voter

challenge, the Board of Elections would be responsible for investigating any


Defs.’ Stmt.
Undisputed Facts                         29
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 30 of 43




challenges it accepts. First Davis Tr. 120:7-22.

      112. Mr. Davis ran data analysis on the Georgia voter rolls after the

November 2020 election. (“Davis November Analysis”) First Davis Tr. 28:7-14;

Second Davis Tr. 28:3-18.

      113. Mr. Davis ran a separate data analysis for the Runoff Election; voters

then volunteered to submit voter challenges in counties using this list.

(“Davis/Somerville Challenge List”) Second Davis Tr. 28:19-32:17.

      114. Mr. Davis took the lead in researching and identifying voters to include

on the Davis/Somerville Challenge List. Mr. Davis’ research included the

following steps:

      a.     Split the input voter data into 3 parts for processing so the databases

      would not exceed the dbase file size limitation of 2.14 gigabytes.

      b.     Imported the data into 3 dbase structures with processing fields

      appended (added) to the structure.

      c.     Copied the residence addresses into the “COA” (Change of address)

      fields created for CASS (Coding Accuracy Support System) and NCOA

      (National Change of Address) processing.


Defs.’ Stmt.
Undisputed Facts                         30
    Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 31 of 43




     d.    Ran CASS & NCOA processing & saved the processing

     certifications.

     e.    Created an empty table called “Moved” and imported the records that

     received an updated address during NCOA processing.

     f.    Set a relation on the voter registration number into the vote history

     trailer data and flagged the voters in the “Moved” table who voted in the

     general election.

     g.    Geocoded (assigned latitude & longitude) & digitally mapped the

     “Moved” table to assign the county of the new address.

     h.    Copied out a file of voters who cast ballots in the General Election

     with changes of address to a new state or to a new county in Georgia more

     than 30 days before the general and/or the runoff elections. This yielded a

     file of voters with a change of address to another state, as well as in state

     voters who, based on the month of their “Move Effective Dates”, appeared

     to have had residency issues when they voted in the General Election, along

     with voters who voted in the General who appeared to have similar

     residency issues heading into the Runoff Election.


Defs.’ Stmt.
Undisputed Facts                        31
    Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 32 of 43




     i.     Removed changes of address to PO Boxes.

     j.     Eliminated UOCAVA (Military) voters by matching against the

     absentee voter data.

     k.     Mr. Davis sent Mr. Somerville a copy of the file so that he could

     remove as many voters at military bases as possible.

     l.     Mr. Somerville then sent the semi-final challenge list to Mr. Davis.

     m.     Output a “Final” challenge list removing voters with changes of

     address prior to June of 2019 as we believed they would have already been

     through the Secretary of State’s NCOA processing, subsequent verification

     inquiries, and associated list maintenance activities.

     n.     Created a report format for printed lists of challenged voters.

     o.     Output a PDF list for each county.

     p.     Output an Excel file for each county.

     q.     Did an SQL query to get a count by county. The final count was

     39,141 voters and the average number of challenged voters per county was

     246.

     r.     Mr. Davis uploaded the Davis/Somerville Challenge List to Google


Defs.’ Stmt.
Undisputed Facts                        32
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 33 of 43




      drive for Mr. Somerville to distribute to challengers.

Davis Interrog. Resp. Ct. Order Resp. No. 2.

      115. After the Run-off Election, Mr. Davis continued to analyze data related

to Georgia voters. This data indicates that some voters who appeared to have

residency issues (i.e., moved to another county more than 30 days before the

election) voted in the General Election. Mr. Davis provided this data analysis to

the Georgia Secretary of State in May of 2021 (“SOS Analysis”). Davis Interrog.

Resp. Ct. Order Resp. No. 3.

      116. The SOS Analysis showed that out of the 39,141 voters on the

Davis/Somerville Challenge List, 26,854 had changes of address within the state

of Georgia, and since the runoff, 9,950 voters (37.05%) have updated their voter

registration addresses to the same addresses shown in the NCOA data provided to

the USPS when they moved originally. These voters have provided post-election,

self-confirmation to the Secretary of State or their county’s board of elections that

the information on the Davis/Somerville Challenge List was accurate at the time

Mr. Davis compiled it. Davis Interrog. Resp. Ct. Order Resp. No. 3; see also First

Davis Tr. 132:8-22; Second Davis Tr. 60:16-61:3; 164:19-165:9;166:21-168:14.


Defs.’ Stmt.
Undisputed Facts                         33
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 34 of 43




      117. In addition, the SOS Analysis shows 18,202 voters of the 26,854 voters

(67.8%) who submitted a change of address within the State of Georgia voted in

the Run-off election. Of those 67.8% of voters, the data indicates 3,556 voters

(19.5%) cast ballots for the Run-off Election in their old county, but have since

updated their registration addresses to the same address they gave the USPS when

they moved, which is in a different county than the one in which they voted.

Since the Run-off Election, the Georgia Secretary of State has removed 1,486 of

the voters on the Independent Run-off List. Of those, 403 (27%) voted in the Run-

off Election. Davis Interrog. Resp. Ct. Order Resp. No. 3.

      118. Of the voters described in the SOS Analysis, “94% of them would have

been offered a ballot with a state house race on it that they don’t live in, about

86.5% would have been offered a chance to vote in a state senate district that they

no longer lived n, and approximately 64% would have been offered the chance to

cast a ballot in a congressional district they no longer lived in.” Second Davis Tr.

169:10-17.

      119. Neither the Davis November Analysis nor the Davis/Somerville

Challenge List took into account race, sex, or party affiliation. First Davis Tr.


Defs.’ Stmt.
Undisputed Facts                          34
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 35 of 43




166:5-168:22; Second Davis Tr. 40:19-41:5; 185:15-188:4.

      120. Mr. Davis had no contact with any individual voters with potential

residency issues according to his data analysis, nor did he encourage anyone else

to contact individual voters with potential residency issues. First Davis Tr. 171:4-

21. Mr. Davis and Mr. Somerville removed members of the military, to the best of

their ability, from their list of voters with potential residency issues. Second Davis

Tr. 29:1-17; 36: 14-37:6.

      121. Mr. Davis and Mr. Somerville did not publish the Davis/Somerville

Challenge List to the general public. Second Davis Tr. 46:3-14; 80:7-10.

      122. Mr. Davis’ “primary motivation” in compiling the list of voters with

potential residency issues was “to prevent illegal votes from being cast.” Second

Davis Tr. 59:7-8l 86:22-87:3; 90:14-21.

      123. Mr. Davis believes it is the job of election officials and law

enforcement to determine who may or may not have committed a crime as it

relates to casting unlawful votes. Second Davis Tr. 59:8-11.

      124. The Davis/Somerville Challenge List contained quite a number of

voters who were registered to vote at commercial mail receiving agencies (such as


Defs.’ Stmt.
Undisputed Facts                          35
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 36 of 43




UPS stores), rather than at their residence; he hoped election officials would notice

this issue and work towards resolving it. Second Davis Tr. 67:5-68:8; 70:22-71:16.

      125. Mr. Davis denies challenging a voter with a potential residency issue is

voter intimidation. Second Davis Tr. 140:4-22.

      126. The challenge in Muscogee County, Georgia did not come from the

Davis/Somerville List. Second Davis Tr. 144:7-15.

      127. Mr. Davis did not seek to intimidate any lawful voter. Second Davis

Tr. 199:9-18.

                       Mark Williams Statement of Facts

      128. Mark Williams owns a printing company, and his company printed the

§ 230 Challenges for TTV. Transcript Excerpts of Deposition of Mark Williams

(Sept. 23, 2021) (“Williams Tr.”), Ex. P, 19:4-18; 21:11-22:15; Defendant Mark

Williams’s Responses to Plaintiffs’ First Interrogatories (March 15, 2021)

(“Williams Resp. to First Interrogs.”), Ex. Q, Resp. No. 1.

      129. Mr. Williams introduced Ron Johnson and James Cooper to Gregg

Phillips. Williams Tr. 23:3-24:7.

      130. Mr. Williams did not help compile the TTV Challenge Lists. Williams


Defs.’ Stmt.
Undisputed Facts                         36
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 37 of 43




Tr. 35:4-15.

      131. Mr. Williams volunteered to be the TTV Challenger in Gwinnett

County. He submitted the Challenges to the Gwinnett Board with the hopes that

the Board would vet the list, but he was told the Board would not vet them at all.

Williams Tr. 63:2-64:1.

                          Ron Johnson Statement of Facts

      132. Ron Johnson contacted eligible Georgia voters he knew to ask if they

would be interested in bringing a § 230 Challenges in the county in which they

live. He gave TTV the contact information for any Georgia voter who expressed

an interest in participating in these Challenges. Defendant Ron Johnson’s

Responses to Plaintiffs’ First Interrogatories (March 15, 2021) (“ Johnson Resp.

to First Interrogs.”), Ex. R, Resp. No. 5.

      133. Mr. Johnson communicated with the volunteers to get their signed

permission for TTV to submit the Challenges in there name. Id.

      134. Mr. Johnson did not help compile the TTV Challenge Lists. Johnson

Resp. to First Interrogs. Resp. Nos. 1-4.




Defs.’ Stmt.
Undisputed Facts                            37
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 38 of 43




                          James Cooper Statement of Facts

      135. James Cooper contacted eligible Georgia voters he knew to ask if they

would be interested in bringing a § 230 Challenges in the county in which they

live. He prepared a “form” email to send to potential Challengers, which described

the potential Challenges. He gave TTV the contact information for any Georgia

voter who expressed an interest in participating in these Challenges. Defendant

James Cooper’s Responses to Plaintiffs’ First Interrogatories (March 15, 2021) (“

Cooper Resp. to First Interrogs.”), Ex. S, Resp. No. 5.

      136. Mr. Cooper communicated with the volunteers to get their signed

permission for TTV to submit the Challenges in there name. Cooper Resp. to First

Interrogs. Resp. No. 5.

      137. Mr. Cooper did not help compile the TTV Challenge Lists. Cooper

Resp. to First Interrogs. Resp. Nos. 1-4.

                          Scott Berson Statement of Facts

      138. Alton Russell submitted a § 230 Challenge in Muscogee County,

which included Plaintiff Scott Berson. Plaintiff Scott Berson’s Responses to

Defendants’ First Set of Interrogatories (Jun. 23, 2021) (“Berson Resp. to


Defs.’ Stmt.
Undisputed Facts                            38
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 39 of 43




Interrogs.”), Ex. T, Resp. No. 3.

      139. Mr. Berson was never contacted directly by any Challenger, including

any Named Defendant. Berson Resp. to Interrogs., Resp. No. 14.

      140. Mr. Berson “read in the Columbus Ledger-Enquirer that challenges had

been filed against people with out-of-state mailing addresses and I figured I was

probably on the list.” Berson Resp. to Interrogs., Resp. No. 6.

      141. He subsequently “received a phone call from a community organizer”

informing him he had been challenged, but he doesn’t know the identity of the

person who called him. Berson Resp. to Interrogs., Resp. No. 6.

      142. Mr. Berson cast a provisional ballot in the run-off election, which was

subsequently counted after he verified his eligibility with Muscogee County

election officials. Berson Resp. to Interrogs., Resp. No. 12, 13.

      143. Mr. Berson describes having to find suitable identification and proof of

residency after changing mailing addresses as “extremely frustrating and

burdensome.” Berson Resp. to Interrogs., Resp. No. 8.

                       Jocelyn Heredia Statement of Facts

      144. Ms. Heredia was a Challenged Voter in Banks County. Transcript


Defs.’ Stmt.
Undisputed Facts                         39
        Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 40 of 43




Excerpts of Deposition of Jocelyn Heredia (Oct. 15, 2021) (“Heredia Tr.”), Ex.

U, 20:13-21:7.

        145. TTV filed an open records request with Banks County regarding its

Challenge there, Banks County ORR, Ex. V, Def TTV 1836-37; the County

responded with minutes from a meeting that showed it dismissed the Challenge

List because no one requested a probable cause hearing. Banks County Board

Minutes, Ex. W, Def TTV 1838.

        146. Ms. Heredia testified that Banks County, not any Challenger, published

her name on its website. Heredia Tr. 31:22-32:3.

        147. Ms. Heredia did submit a change of address form. Heredia Tr. 13:1-13.

        148. Ms. Heredia testified that no one said anything to her while she was

standing in line to vote that intimidated her or targeted her. Heredia Tr. 48:16-

49:3.

        149. However, Ms. Heredia testified she felt “intimidated from the get-go,”

as soon as she got to the polling location because she was the only Hispanic

person in line to vote in a predominantly Republican county. Heredia Tr. 48:1-9.

        150. Ms. Heredia testified that she did not know she was Challenged until


Defs.’ Stmt.
Undisputed Facts                         40
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 41 of 43




later, when she got into the polling location. Heredia Tr. 49:4-50:2.

      151. Ms. Heredia testified her feeling of intimidation increased when she

learned she had been Challenged based upon her change of address. Heredia Tr.

48:10-15.

      152. Ms. Heredia testified that because she was Challenged, election

officials asked her to fill out a paper ballot. Heredia Tr. 23:22-24:7.

      153. The election officials explained to Ms. Heredia that if she provided the

requisite proof of residency at her voter registration address, her provisional ballot

would be counted. Heredia Tr. 23:22-24:13.

      154. Ms. Heredia testified that she submitted the provisional ballot and

provided the election officials with proof of her residency in Banks County.

Heredia Tr. 24:8-13.

      155. Ms. Heredia testified that a woman “of Asian descent” was also in the

separate line to file a provisional ballot, but she does not know if that woman was

a Challenged Voter or was filing a provisional ballot for some other reason.

Heredia Tr. 45:9-14.

                         Doe Plaintiffs Statement of Facts


Defs.’ Stmt.
Undisputed Facts                          41
       Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 42 of 43




       156. Doe Plaintiffs both declared that they learned of their Challenge when

they “read a story in the local paper about True the Vote’s challenges and saw my

name and address had been published online.” ECF No. 26, ¶ 5.

       157. Doe Plaintiffs assert “Defendants published a list with my address on

it.” id. at ¶ 8.

       158. The Doe Plaintiffs assert they were “extremely upset” when they

learned their eligibility to vote had been challenged. Id. at ¶ 5.

       159. The Doe Plaintiffs declared that the Challenge would not prevent either

one of them from voting in the run-off election, but they feared they “could”

become the target of harassment “from Defendants and their supporters.” Id. at ¶ 8.




Defs.’ Stmt.
Undisputed Facts                          42
     Case 2:20-cv-00302-SCJ Document 155-2 Filed 05/16/22 Page 43 of 43




Dated: May 16, 2022                      Respectfully Submitted,

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Defs.’ Stmt.
Undisputed Facts                    43
